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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

PETER YOUNG,

                                     Plaintiff,
       vs.                                                        9:12-CV-1642
                                                                  (MAD/TWD)
GRAHAM, Superintendent; BROWER; SGT.
CHANDLER; OFFICER CASLER; HEATH;
OFFICER FAGEN; VASILE; and BRIAN
FISCHER,

                                     Defendants.

____________________________________________

APPEARANCES:                                        OF COUNSEL:

PETER YOUNG
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Apt. #5
Syracuse, New York 13206
Plaintiff pro se

OFFICE OF THE NEW YORK                             AIMEE M. PAQUETTE, AAG
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Attorneys for Defendants

Mae A. D'Agostino, U.S. District Judge:

                        MEMORANDUM-DECISION AND ORDER

                                     I. INTRODUCTION

       Pro se Plaintiff Peter Young, formerly an inmate in the custody of the New York State

Department of Corrections and Community Supervision, commenced this civil rights action

pursuant to 42 U.S.C. § 1983 on September 13, 2012, asserting claims arising out of his

confinement at Auburn Correctional Facility ("Auburn C.F."). See Dkt. No. 1. After the Court
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dismissed the original complaint on initial review, Plaintiff timely filed an amended complaint.

See Dkt. Nos. 26 & 30. Following initial review of the amended complaint, the Court found that

the following claims survived initial review and required a response: (1) First Amendment

retaliation claim against Defendants Fischer, Graham, Brower, Chandler, Casler, Heath, and

Fagen; (2) First Amendment legal mail interference claim against Defendants Fischer, Graham,

Chandler, Casler, and Heath; (3) First Amendment denial of access to the court claim against

Defendants Graham, Chandler, Casler, and Heath; (4) Eighth Amendment conditions of

confinement claim against Defendants Fischer, Brower, and Chandler; (5) Eighth Amendment

excessive force claim against Defendants Fischer, Graham, and Vasile; (6) Fourteenth

Amendment forced medical care claim against Defendant Graham; and (7) Fourteenth

Amendment deprivation of personal property claim against Defendant Graham. See Dkt. No. 44

at 29-30.

       On June 3, 2016, Defendants filed a motion for summary judgment, arguing that Plaintiff's

claims are meritless and that Plaintiff has failed to establish the personal involvement of

Defendants Fischer, Graham, Chandler, and Vasile. See Dkt. No. 139. In an Order and Report-

Recommendation dated March 6, 2017, Magistrate Judge Dancks recommended that the Court

grant in part and deny in part Defendants' motion. See Dkt. No. 154. Specifically, Magistrate

Judge Dancks recommended that the Court grant Defendants' motion for summary judgment as to

all claims with the exception of the Eighth Amendment conditions of confinement claim against

Defendants Chandler and Brower, and the Eighth Amendment excessive force and failure to

intervene claim against Defendants Graham, Vasile, Brower, Heath, and Casler. See id. at 36.

                                       II. BACKGROUND




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       Since neither party objected to Magistrate Judge Dancks' recitation of the relevant

background facts, and because it is consistent with the record, the Court adopts the factual

background set forth in Magistrate Judge Dancks' Order and Report-Recommendation. See Dkt.

No. 154 at 3-7.

                                         III. DISCUSSION

A.     Standard

       A court may grant a motion for summary judgment only if it determines that there is no

genuine issue of material fact to be tried and that the facts as to which there is no such issue

warrant judgment for the movant as a matter of law. See Chambers v. TRM Copy Ctrs. Corp., 43

F.3d 29, 36 (2d Cir. 1994) (citations omitted). When analyzing a summary judgment motion, the

court "cannot try issues of fact; it can only determine whether there are issues to be tried." Id. at

36-37 (quotation and other citation omitted). Moreover, it is well-settled that a party opposing a

motion for summary judgment may not simply rely on the assertions in its pleadings. See Celotex

Corp. v. Catrett, 477 U.S. 317, 324 (1986) (quoting Fed. R. Civ. P. 56(c) (e)).

       In assessing the record to determine whether any such issues of material fact exist, the

court is required to resolve all ambiguities and draw all reasonable inferences in favor of the

nonmoving party. See Chambers, 43 F.3d at 36 (citing Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 255, 106 S. Ct. 2502, 2513-14, 91 L. Ed. 2d 202 (1986)) (other citations omitted). Where

the non-movant either does not respond to the motion or fails to dispute the movant's statement of

material facts, the court may not rely solely on the moving party's Rule 56.1 statement; rather the

court must be satisfied that the citations to evidence in the record support the movant's assertions.

See Giannullo v. City of N.Y., 322 F.3d 139, 143 n.5 (2d Cir. 2003) (holding that not verifying in




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the record the assertions in the motion for summary judgment "would derogate the truth-finding

functions of the judicial process by substituting convenience for facts").

       "[I]n a pro se case, the court must view the submissions by a more lenient standard than

that accorded to 'formal pleadings drafted by lawyers.'" Govan v. Campbell, 289 F. Supp. 2d 289,

295 (N.D.N.Y. 2007) (quoting Haines v. Kerner, 404 U.S. 519, 520, 92 S. Ct. 594, 30 L. Ed. 2d

652 (1972)) (other citations omitted). The Second Circuit has opined that the court is obligated to

"make reasonable allowances to protect pro se litigants" from inadvertently forfeiting legal rights

merely because they lack a legal education. Govan v. Campbell, 289 F. Supp. 2d 289, 295

(N.D.N.Y. 2007) (quoting Traguth v. Zuck, 710 F.2d 90, 95 (2d Cir. 1983)). "However, this does

not mean that a pro se litigant is excused from following the procedural requirements of

summary judgment. See id. at 295 (citing Showers v. Eastmond, 00 CIV. 3725, 2001 WL 527484,

*1 (S.D.N.Y. May 16, 2001)). Specifically, "a pro se party's 'bald assertion,' completely

unsupported by evidence" is not sufficient to overcome a motion for summary judgment." Lee v.

Coughlin, 902 F. Supp. 424, 429 (S.D.N.Y. 1995) (citing Cary v. Crescenzi, 923 F.2d 18, 21 (2d

Cir. 1991)).

       When a party files specific objections to a magistrate judge's report-recommendation, the

district court makes a "de novo determination of those portions of the report or specified proposed

findings or recommendations to which objection is made." 28 U.S.C. § 636(b)(1). However,

when a party files "[g]eneral or conclusory objections or objections which merely recite the same

arguments [that he presented] to the magistrate judge," the court reviews those recommendations

for clear error. O'Diah v. Mawhir, No. 9:08-CV-322, 2011 WL 933846, *1 (N.D.N.Y. Mar. 16,

2011) (citations and footnote omitted). After the appropriate review, "the court may accept,




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reject, or modify, in whole or in part, the findings or recommendations made by the magistrate

judge." 28 U.S.C. § 636(b)(1).

          A litigant's failure to file objections to a magistrate judge's report and recommendation,

even when that litigant is proceeding pro se, waives any challenge to the report on appeal. See

Cephas v. Nash, 328 F.3d 98, 107 (2d Cir. 2003) (holding that, "[a]s a rule, a party's failure to

object to any purported error or omission in a magistrate judge's report waives further judicial

review of the point" (citation omitted)). A pro se litigant must be given notice of this rule; notice

is sufficient if it informs the litigant that the failure to timely object will result in the waiver of

further judicial review and cites pertinent statutory and civil rules authority. See Frank v.

Johnson, 968 F.2d 298, 299 (2d Cir. 1992); Small v. Sec'y of Health and Human Servs., 892 F.2d

15, 16 (2d Cir. 1989) (holding that a pro se party's failure to object to a report and

recommendation does not waive his right to appellate review unless the report explicitly states

that failure to object will preclude appellate review and specifically cites 28 U.S.C. § 636(b)(1)

and Rules 72, 6(a), and former 6(e) of the Federal Rules of Civil Procedure).

B.        Official Capacity Claims

          Plaintiff sued all Defendants for money damages pursuant to 42 U.S.C. § 1983 in both

their individual and official capacities. See Dkt. No. 30 at 1-5. As Magistrate Judge Dancks

correctly determined, the Eleventh Amendment precludes Plaintiffs from recovering money

damages from Defendants in their official capacities. See Woods v. Rondout Valley Cent. Sch.

Dist. Bd. of Educ., 4666 F.3d 232, 238 (2d Cir. 2006). As such, although not raised in their

motion for summary judgment, the Court sua sponte dismisses Plaintiff's official capacity claims.

See id.

C.        Retaliation

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       In his amended complaint, Plaintiff claims that Defendants Fischer, Graham, Brower,

Chandler, Casler, Heath, and Fagen retaliated against him for filing lawsuits and grievances, and

for his religious beliefs. Defendants argue that the Court should grant summary judgment as to

these claims because the claims are legally deficient and the record contains no evidence upon

which a factfinder could conclude that unlawful retaliation occurred. See Dkt. No. 139-7 at 15-

19.

       Having reviewed the parties' submissions, the Court finds that Magistrate Judge Dancks

correctly determined that Defendants are entitled to summary judgment as to Plaintiff's retaliation

claims. See Dkt. No. 154 at 13-16. Aside from his own conclusory allegations in the amended

complaint and one instance during his deposition, nothing in the record supports the alleged

retaliation claims. Now that this matter has progressed to summary judgment, Plaintiff's

conclusory allegations are no longer sufficient. See Friedl v. City of New York, 210 F.3d 79, 85

(2d Cir. 2000). In response to Defendants' motion, Plaintiff needed to come forward with

evidence from which a reasonable factfinder could find the requisite nexus between his protected

activity and the adverse actions taken against him. See Flaherty v. Coughlin, 713 F.2d 10, 13 (2d

Cir. 1983). Even assuming Plaintiff engaged in protected conduct, Plaintiff failed to present any

evidence, admissible or otherwise, supporting any causal connection between the alleged

protected conduct and any adverse action. See Roseboro v. Gillespie, 791 F. Supp. 2d 353, 368-

69 (S.D.N.Y. 2011).

       Based on the foregoing, the Court finds that Magistrate Judge Dancks correctly

recommended that the Court grant Defendants' motion for summary judgment as to Plaintiff's

retaliation claims.

D.     Supervisor Liability

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       In his deposition, Plaintiff testified that he sued Defendant Fischer because "he was the

top man, C.E.O. of the Department of Corrections." Dkt. No. 139-3 at 25. Plaintiff claims that he

wrote letters to Defendant Fischer complaining about the alleged constitutional violations he was

subjected to, but complains that Defendant Fischer merely delegated these letters to his deputy

commissioners. See id. at 34, 37-38.

       As Magistrate Judge Dancks correctly determined, Plaintiff's conclusory claims that

Defendant Fischer did not respond to letters or grievances, or that he referred these letters to

subordinates is insufficient to establish personal involvement. See Vega v. Artus, 610 F. Supp. 2d

185, 199 (N.D.N.Y. 2009). Moreover, Plaintiff's allegation that Defendant Fischer authorized

Defendant Graham to use excessive force and chemical agents during cell extractions at Auburn

C.F. is insufficient to establish Defendant Fischer's personal involvement in the alleged Eighth

Amendment violation. See Scarbrough v. Thompson, No. 10-cv-901, 2012 WL 7761439, *10

(N.D.N.Y. Dec. 12, 2012). The record is devoid of any evidence to support a finding of

supervisory liability against Defendant Fischer.

       Based on the foregoing, the Court grants Defendants' motion for summary judgment as to

the supervisory liability claims against Defendant Fischer.

E.     Interference with Legal Mail and Access to the Courts

       In their motion, Defendants argue that Plaintiff's legal mail and access to the court claims

against Defendants Fischer, Graham, Chandler, Heath, and Casler fail as a matter of law because

Plaintiff failed to establish that he suffered any actual injury from the alleged misconduct. See

Dkt. No. 139-7 at 23. The Court agrees.

       Plaintiff claimed that a petition for a writ of habeas corpus was dismissed in the Eastern

District of New York for his failure to timely file a memorandum of law. See Dkt. No. 30 at 12.

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Contrary to Plaintiff's allegations, the record makes clear that his petition was dismissed on the

merits on December 20, 2012. See Young v. New York, No. 2:11-cv-110, Dkt. Nos. 17 & 18

(E.D.N.Y.).

       Moreover, in his first action filed in the Western District of New York, the court

appointed pro bono counsel and the case went to trial on August 26, 2013. See Young v. Kadien,

No. 6:09-cv-6639 (W.D.N.Y.). After Plaintiff presented his case, defense counsel made a Rule 50

motion, which the court granted and judgment was entered on September 10, 2013. See id., Dkt.

Nos. 137 & 138. Finally, in the second action Plaintiff commenced in the Western District of

New York, Plaintiff was again represented by counsel and, after oral argument, the court granted

the defendants' motion to dismiss and dismissed Plaintiff's amended complaint on the merits. See

Young v. Canfield, No. 6:11-cv-6007, 2014 WL 3385186 (W.D.N.Y. July 9, 2014).

       Contrary to Plaintiff's conclusory allegations, all of the legal actions that have been

identified were dismissed on the merits and not due to any alleged interference with Plaintiff's

ability to access the courts or with his legal mail. Absent any actual injury to Plaintiff, Magistrate

Judge Dancks correctly determined that the Court should grant Defendants' motion for summary

judgment as to these claims. See Collins v. Goord, 581 F. Supp. 2d 563, 573 (S.D.N.Y. 2008).

F.     Forced Medical Care

       Plaintiff alleged that Defendant Graham ordered that Plaintiff be taken to the infirmary for

medical treatment "against [his] religious belief." Dkt. No. 44 at 14-15. As Magistrate Judge

Dancks noted, at his deposition, Plaintiff clarified that, "although he was taken to the infirmary,

'where they tried to give [him] medical treatment,' Plaintiff successfully refused the medical

treatment, having only been forced to have his vital signs monitored." Dkt. No. 154 at 24

(quoting Dkt. No. 139-3 at 53-54). Moreover, Plaintiff has not alleged that any of the Defendants

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actually provided him with medical treatment, or that Defendant Graham violated his limited right

to refuse medical treatment.

       Since the summary judgment record is devoid of any evidence supporting Plaintiff's claim

that Defendant Graham violated Plaintiff's Fourteenth Amendment right to refuse medical

treatment, Magistrate Judge Dancks correctly determined that this claim should be dismissed.

G.     Conditions of Confinement

       In his amended complaint, Plaintiff has alleged two separate Eighth Amendment

conditions of confinement claims. See Dkt. No. 30 at 15. First, Plaintiff claims that Defendant

Brower turned off the water in his cell for thirty (30) days, limiting him to two buckets of hot

water a day for drinking, bathing, and laundry. See id. As Magistrate Judge Dancks correctly

determined, although it has never been held that prisoners are entitled to complete and unfettered

access to water or showers, see Beckford v. Portuondo, 151 F. Supp. 2d 204, 211 (N.D.N.Y.

2001), Defendants' motion for summary judgment as to this claim must be denied because

weighing the conflicting evidence and assessing the credibility of the parties is within the sole

province of the jury. See Dkt. No. 154 at 28.

       Plaintiff has also alleged that Defendant Chandler violated his Eighth Amendment rights

by tampering with his food. Although Defendants identified this claim in their motion for

summary judgment, they failed to address the merits of this claim in their memorandum of law.

As such, Magistrate Judge Dancks did not consider this claim to be a part of Defendants' motion

for summary judgment. See Dkt. No. 154 at 29-30. Further, Magistrate Judge Dancks concluded

that, based on the record, "[e]ven if Defendants had addressed the merits, the Court would have

been constrained to deny summary judgment based on the current record." Id. at 30. The Court

agrees with Magistrate Judge Dancks that, since Defendants failed to address the merits of this

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claim in their memorandum of law, it was not properly before the Court. Moreover, even if it had

been addressed, questions of fact would preclude the Court from granting Defendants' motion as

to this claim.

        Based on the foregoing, the Court denies Defendants' motion for summary judgment as to

Plaintiff's Eighth Amendment conditions of confinement claims.

H.      Excessive Force

        In his amended complaint, Plaintiff alleges that he was subjected to excessive force and

chemical agents during several cell extractions. As acknowledged in Magistrate Judge Dancks'

Order and Report-Recommendation, the evidentiary record in support for Plaintiff's excessive

force claims is thin. See Dkt. No. 154 at 33. However, Magistrate Judge Dancks also noted that,

despite the thin record in support of the claim, the record is devoid of an affidavit or declaration

from any Defendant denying or disputing Plaintiff's account of the use of excessive force during

the cell extractions, or any evidence demonstrating that any force used was necessary to restore

discipline and subdue Plaintiff. See id. On the record before the Court, Plaintiff testified that

Defendants Heath and Casler were members of the extraction team when he was subjected to

excessive force. Since Plaintiff's "allegations and evidentiary proffers could reasonably, if

credited, allow a rational factfinder to find that corrections officers used force maliciously and

sadistically," summary judgment is inappropriate. See Wright v. Goord, 554 F.3d 255, 269 (2d

Cir. 2009). Further, Plaintiff's testimony creates an issue of fact as to whether Defendants

Graham, Vasile, and Brower were present when they ordered these cell extractions and, therefore,

failed to intervene in violation of the Eighth Amendment.




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       Based on the foregoing, the Court denies Defendants' motion for summary judgment as to

Plaintiff's excessive force and failure to intervene claims against Defendants Graham, Vasile,

Brower, Heath, and Casler.

I.     Deprivation of Personal Property

       After the Court's initial review, Plaintiff's only remaining claim for deprivation of property

is against Defendant Graham. See Dkt. No. 44 at 14-15. At his deposition, Plaintiff testified that

Defendant Graham does not personally take his property. See Dkt. No. 139-3 at 56. Rather, in an

entirely conclusory fashion, Plaintiff claims that Defendant Graham orders subordinates to "take

all my personal property, legal word, and carbon copies[.]" Dkt. No. 142 at ¶ 12. In his reply

declaration, Defendant Graham specifically denies Plaintiff's conclusory allegations. See Dkt.

No. 144-1 at ¶ 6.

       As Magistrate Judge Dancks correctly determined, Plaintiff's conclusory allegations are

insufficient to create a genuine issue of material fact. See Kerzer, 156 F.3d at 400. Plaintiff's

bald speculation that Defendant Graham ordered the confiscation of his personal belongings,

including his underwear and socks, is not based on personal knowledge and is insufficient to

withstand Defendants' motion for summary judgment. See Patterson v. Cnty. of Oneida, 375 F.3d

206, 219 (2d Cir. 2004) (holding that evidence must be based on personal knowledge) (citations

omitted).

       Based on the foregoing, the Court grants Defendants' motion for summary judgment as to

Plaintiff's deprivation of personal property claim.

                                        IV. CONCLUSION




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       After carefully reviewing the entire record in this matter, the parties' submissions,

Magistrate Judge Dancks' Order and Report-Recommendation and the applicable law, and for the

above-stated reasons, the Court hereby

       ORDERS that Magistrate Judge Dancks' Order and Report-Recommendation (Dkt. No.

154) is ADOPTED in its entirety; and the Court further

       ORDERS that Defendants' motion for summary judgment (Dkt. No. 139) is GRANTED

in part and DENIED in part;1 and the Court further

       ORDERS the Clerk of the Court shall serve a copy of this Memorandum-Decision and

Order on the parties in accordance with the Local Rules.

IT IS SO ORDERED.

Dated: March 27, 2017
       Albany, New York




       1
          As a result of this Memorandum-Decision and Order, the only remaining claims are
Plaintiff's Eighth Amendment conditions of confinement claim against Defendants Chandler and
Brower, and the Eighth Amendment excessive force and failure to intervene claim against
Defendants Graham, Vasile, Brower, Heath, and Casler.
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